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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                     |       MDL No. 2741
LIABILITY LITIGATION                        |
                                            |
                                            |
This document relates to:                   |       [PROPOSED] ORDER GRANTING
                                            |       PLAINTIFF’S SUBSTITUTION OF
Judy Turner and Bruce Turner v.             |       BRUCE TURNER IN PLACE OF
Monsanto Co.,                               |       JUDY TURNER
Case No.: 3:19-cv-06392                     |



       1. Counsel for Plaintiff’s Motion to Substitute Bruce Turner in Place of Judy Turner

           pursuant to F.R.C.P.25 is GRANTED.

       2. Bruce Turner is here by substituted in place of Judy Turner.

       3. Accordingly, the case caption shall be amended as follows: Bruce Turner,

           individually and on behalf of the wrongful death beneficiaries of Judy Turner.



                          30th day of _________________,
       SIGNED on this the ____         August            2023.



                                                    _______________________________
                                                    VINCE CHHABRIA
                                                    United States District Court Judge
